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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
In re:
                                                                        Chapter 11
THE FRESH ICE CREAM COMPANY, LLC                                        Case No. 17-40716-ess
d/b/a Craft Collective
d/b/a Steve’s Ice Cream,

                                                Debtor.
-------------------------------------------------------------------X

                                      CERTIFICATION OF BALLOTS


               The above captioned Debtor having filed a First Amended Chapter 11 Liquidating Plan dated

October 17, 2017 (the "Plan"); and ballots on said Plan having been solicited pursuant to Order dated

October 19, 2017 by DelBello Donnellan Weingarten Wise & Wiederkehr, LLP, attorneys for the

Debtor, and Classes 1, 2 and 4 being unimpaired and Class 3 being the only impaired Class of

claimholders, it is hereby certified that the ballots have been filed with DelBello Donnellan

Weingarten Wise & Wiederkehr, LLP, counsel to the Debtor, as follows:



           Class 1 – Allowed Non-Tax Priority Claims
           Unimpaired & Presumed to Accept the Plan

           VOTES NOT SOLICITED




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           Class 2 – Allowed Secured Claims
           Unimpaired & Deemed to Accept the Plan
           VOTES NOT SOLICITED

           Class 3- Allowed General Unsecured Claims
           Impaired and Entitled to Vote on the Plan

           Creditor                                                             Amount             Accept/Reject
1          Anthony Cardone                                                   $169,575.00 1           Accepts
2          Blake Sutcliffe                                                    $50,000.00 2           Accepts
3          Brand Equity Partners, LLC                                        $1,090,306.12           Accepts
4          Celilo Group Media                                                  $1,750.00             Accepts
5          Debora A. Russell                                                  $25,000.00             Accepts
6          Dan Ozizmir                                                       $806,122.43 3           Accepts
7          David J. Lebous                                                    $25,000.00             Accepts
8          Edmund Bingham                                                     $113,900.00            Accepts
9          F. E. Jones Construction, Inc.                                     $25,000.00             Accepts
10         Farrel Fritz, P.C.                                                 $19,087.36             Accepts
11         GTI Designs, Inc.                                                 $110,742.07 4           Accepts
12         Howard Berman                                                       $2,193.51             Accepts
13         Hudsonville Creamery & Ice Cream Co., LLC                          $476,785.00            Accepts
14         Hutt Trucking Company                                               $8,407.96             Accepts
15         Island Container Corp.                                              $4,999.89             Accepts
16         James Koniuto                                                      $10,000.00 5           Accepts
17         Kevin M. Sisson                                                    $150,000.00            Accepts
18         Kildare Asset Management, LLC                                      $205,876.00            Accepts
19         Martin and Mary Smith                                              $66,326.41 6           Accepts
20         Michael and Latrice Colsten                                        $10,204.08             Accepts
21         Michael Peters                                                     $102,040.81            Accepts
22         Michael Venuti                                                     $35,000.00             Accepts
23         MTLR, Corp. dba Mendon Truck Leasing & Rental                      $19,101.47             Accepts
24         National Marketshare Group, Inc. 7                                  $8,241.09             Accepts


1
  Ballot references claim in the $180,000. Proof of claim filed in the amount of $169,575.
2
  Ballot references claim in the amount of $215,000. Proof of claim filed in the amount of $50,000.
3
  Ballot references claim in the amount of $1,889,576. No proof of claim was filed but claim was scheduled by the
Debtor in the amount of $806,122.43.
4
  Ballot references claim in the amount of $159,909.42. Proof of claim filed in the amount of $110,742.07.
5
  Ballot references claim in the amount of $20,000. Proof of claim filed in the amount of $10,000.
6
  Ballot references claim in the amount of $50,000. Proof of claim filed in the amount of $66,326.41.
7
  Creditor filed its proof of claim and asserted priority status. The Debtor will file an objection to this classification
prior to Confirmation. However, ballot was submitted by creditor as a holder of a Class 3 Claim and as such, it is
included in this Certification.
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25         Paul Tierney                                                   $30,000.00           Accepts
26         Schoep’s Ice Cream Co., Inc.                                  $1,017,597.20         Accepts
27         SRSJ Group, Inc.                                              $240,000.00 8         Accepts

1          ACP BK I LLC                                                   $100,981.91          Rejects

           Total Amount                                                  $4,924,238.31            28
           Accepting                                                     $4,823,256.40            27
           Rejecting                                                      $100,981.91              1



           Class 3 – Interests
           Unimpaired and Deemed to Accept

           VOTES NOT SOLICITED

It appears therefore that:

               a.         Class 1, 2 and 4 creditors have neither accepted nor rejected the Plan, are unimpaired

and are deemed to have accepted the Plan pursuant to 11 U.S.C. Section 1126(f); and

               b.         Class 2 creditors holding at least 2/3 in amount of nondisputed, voted claims, and 1/2

in number of nondisputed, voted claims or interests, as applicable, have voted to accept the Plan;

Dated: White Plains, New York
       December 6, 2017
                                                         DELBELLO DONNELLAN WEINGARTEN
                                                         WISE & WIEDERKEHR, LLP
                                                         Attorneys for the Debtor
                                                         One North Lexington Avenue, 11th Floor
                                                         White Plains, New York 10601
                                                         (914) 681-0200

                                                         By: /s/ Jonathan S. Pasternak, Esq.
                                                                 Jonathan S. Pasternak, Esq.




8
 Ballot references claim in the amount of $376,152.00. No proof of claim was filed by claim was scheduled by the
Debtor in the amount of $240,000.
Certification of Ballot
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